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                      UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF NEW YORK


OPEN SOCIETY JUSTICE INITIATIVE,                     )
                                                     )
                        Plaintiff,                   )      No. 1:20-cv-06625 (PAE)
                                                     )
                 V.                                  )
                                                     )
OFFICE OF THE DIRECTOR OF NATIONAL                   )
INTELLIGENCE                                         )
                                                     )
                        Defendant.                   )


                       DECLARATION OF GREGORY M. KOCH,
                 DIRECTOR, INFORMATION MANAGEMENT OFFICE,
               OFFICE OF THE DIRECTOR OF NATIONAL INTELLIGENCE

   I, Gregory M. Koch, declare as follows:

   I.         INTRODUCTION

        1.       I am the Director of the Information Management Office ("IMO"), under the Chief

Operating Officer for the Office of the Director of National Intelligence ("ODNI"). I have held

this position since October 9, 2020. Prior to my current position, I held various senior and

supervisory roles in the ODNI, including as Deputy Director and Acting Director of IMO, Chief

of Classification Management, as well as Senior Associate General Counsel for litigation in the

Office of General Counsel. In addition, I held other senior and supervisory roles in the Executive

Branch and within the Intelligence Community ("IC") including serving as Chief of Classification

Management at the Central Intelligence Agency, as well as serving three years in the Executive

Office of the President as Deputy Director (and Acting Director) of Access Management at the

National Security Council. In total, I have spent over thirteen years in the U.S. Government

handling and overseeing Freedom of Information Act ("FOIA"), classification, and
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declassification matters, and I am recognized as a FOIA and classification/declassification subject

matter expert. Prior to my U.S. Government experience, I was a civil litigation attorney in the

State of New York. I earned a Juris Doctorate degree from St. John's University School of Law,

and a Bachelor of Arts degree in Political Science from the State University of New York at

Binghamton.

       2.       As part of my current duties, I am responsible for facilitating the implementation

of information management-related Executive orders, laws, regulations, and ODNI policy. This

function entails controlling information throughout its life cycle and includes the areas of records

management, classification management and declassification, prepublication and disclosure, and

responding to requests under the FOIA and the Privacy Act. In my current capacity, I administer

and manage ODNI's Classification Management and Records Management programs, which,

among other things, establish and implement ODNI' s classification and markings policies through

the creation of directives and security classification guides, in collaboration with subject matter

experts.

       3.       Urider a written delegation of authority by the Director of National Intelligence

("DNI") pursuant to Executive Order 13526, Classified National Security Information, I hold

original classification authority at the "TOP SECRET" level. See Exec. Order No. 13526 § 1.3(c),

75 Fed. Reg. 707, 708 (Dec. 29, 2009) [hereinafter "E.O. 13526"]. I am authorized, therefore, to

make original classification and declassification decisions for intelligence information up to and

including the TOP SECRET level. In my current position, I am the final decision-making authority

regarding the initial processing of FOIA requests for ODNI.        I am also responsible for the

classification review of ODNI documents and information that may· be the subject of court

proceedings, information provided to the Congress, or public requests for information under the



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FOIA, 5 U.S.C. § 552, as amended, as well as the Privacy Act of 1974, 5 U.S.C. § 552a, as

amended.

         4.       Through the exercise of my official duties, I have become familiar with this civil

litigation and the underlying FOIA request. I make the following statements based upon my

personal knowledge and information made available to me in my official capacity.

   II.         RESPONSIBILITES AND AUTHORITIES                     OF    THE     DIRECTOR        OF
               NATIONAL INTELLIGENCE

         5.       Through the exercise of my official duties, I support the DNI. Congress created the

position of the DNI in the Intelligence Reform and Terrorism Prevention Act of 2004, Pub. L. No.

108-458, §§ lOll(a) and 1097, 118 Stat. 3638, 3643-62, 3698-99 (2004) (amending Sections 102

through 104 of Title 1 of the National Security Act of 1947). The responsibilities and authorities

of the DNI are set forth in the National Security Act of 1947, as amended. 50 U.S.C. §§ 3001-

3234 [hereinafter the National Security Act]. Subject to the authority, direction, and control of the

President, the DNI serves as the head of the IC, and as the principal adviser to the President, the

National Security Council, and the Homeland Security Council for intelligence matters related to

the national security. 50 U.S.C. § 3023(b)(l), (2). The National Security Act also created the

ODNI. 50 U.S.C. § 3025(a). The function of the ODNI is to assist the DNI in carrying out his or

her duties and responsibilities under the Act and other applicable provisions of law, and to carry

out such other duties as may be prescribed by the President or by law. 50 U.S.C. § 3025(b).

         6.       The responsibilities and authorities of the DNI include ensuring that national

intelligence is provided to the President, heads of the departments and agencies of the Executive

Branch, the Chairman of the Joint Chiefs of Staff and senior military commanders, and Congress.

50 U.S.C. § 3024(a)(l). The DNI is charged with establishing the objectives of; determining the

requirements and priorities for; and managing and directing the tasking, collection, analysis,


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production, and dissemination of national intelligence by elements of the IC. 50 U.S.C. §

3024(£)(1 )(A). The DNI' s other authorities include coordination of relations between elements of

the IC and the intelligence or security services of foreign governments or international

organizations on intelligence matters and monitoring and implementing the execution of the

National Intelligence Program. See, e.g., 50 U.S.C. §§ 3024(c), (k), (n).

          7.       The DNI is statutorily required to "protect intelligence sources and methods from

unauthorized disclosure." 50 U.S.C. § 3024(i)(l). Consistent with this responsibility, the DNI

establishes and implements guidelines for the IC for the classification of information under

applicable law, Executive orders, or other Presidential directives, and for access to and

dissemination of intelligence. 50 U.S.C. § 3024(i)(2)(A), (B). Similarly, section l .3(b)(8) of

Executive Order 12333, as amended, mandates that the DNI "[s]hall protect, and ensure that

programs are developed to protect, intelligence sources, methods, and activities from unauthorized

disclosure." 46 Fed. Reg. 59941 (Dec. 4, 1981), as amended by Exec. Order No. 13470, 73 Fed.

Reg. 45325, 453287 (July 30, 2008).

   III.         ODNI FOIA POLICY AND PROCEDURE


          8.       ODNI responds to all perfected FOIA requests in compliance with FOIA and in a

manner that is fair and reasonable to each requester. Because ODNI receives hundreds of FOIA

requests each year, it generally follows a "first-in, first-out" system for processing them.

          9.       When IMO receives a FOIA request, it assigns an individualized case number to it.

IMO then assesses whether intelligence information is sought and if the acknowledgement of

whether or not ODNI possesses such information would itself reveal classified information or

intelligence sources or methods. Where this is not the case, IMO tasks relevant records custodians

who are likely to have responsive records to conduct a search. IMO may use searches conducted


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in response to prior or similar requests as a starting point for responding to the current request.

IMO also sends an Acknowledgement Letter to the requester acknowledging receipt of the FOIA

request and indicating the assigned case number.

         10.     Because ODNI assists the DNI in carrying out his duties and responsibilities as the

head of the IC and the principal adviser to the President, the National Security Council, and the

Homeland Security Council for intelligence matters related to the national security, many of

ODNI's records include information from other agencies who contribute to the all-source

intelligence often provided by the DNI to policymakers.

   IV.         PLAINTIFF'S FOIA REQUEST AND ODNl'S RESPONSE

         11.     By email dated July 20, 2020, Plaintiff, the Open Society Justice Initiative

("OSJI"), sent a FOIA request to IMO seeking the following records:

         "Reports (including annexes) related to the killing of Jamal Khashoggi provided in 2020

by ODNI to Congress pursuant to sections 1277 and 5714 of the National Defense Authorization

Act for Fiscal Year 2020 (P .L. 116-92) and the Intelligence Authorization Act."

         12.     By letter dated July 22, 2020, IMO acknowledged receipt of OSJI's FOIA request,

granted its request for a fee waiver, denied the request for expedited processing, and assigned the

request tracking number DF-2020-00301.

         13.     On August 19, 2020, Plaintiff filed its complaint in the instant case.

         14.     By letter dated October 8, 2020, .ODNI provided Plaintiff with its response,

documenting that 26 pages were being released and maintaining ODNI's determination that the

remaining document must be withheld pursuant to FOIA exemptions (b)(l), (b)(3), and (b)(6).

Finally the letter asserted that the remaining record was "denied in full pursuant to FOIA

exemptions (b)(l) and (b)(3)."



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         15.     In sum, ODNI produced in whole or in part 26 pages of responsive records,

consisting of correspondence from ODNI to various members of Congress .. One other responsive

record reviewed by ODNI was withheld in full, which as discussed below is a two-page National

Intelligence Council Memorandum February 7, 2020 provided to Congress in response to sections

1277 and 5714 of the FY 20 NDAA.                  I understand that Plaintiff is challenging neither the

sufficiency ofthe search nor the withholdings taken in the 26 pages ODNI released in whole or in

part. Therefore, this declaration addresses only the record withheld in full.

    V.         INFORMATION AT ISSUE

         16.     As noted above, the ODNI ultimately produced in whole or in part 26 responsive

pages in this case. ODNI determined that it could produce in whole or in part these records

responsive to Plaintiffs request because the records, as released, did not reveal any classified or

statutorily protected information.

         17.     The DNI's February 20, 2020 letters to Congressional Leadership and the

appropriate Congressional Committees 1 which were produced to Plaintiff and are attached as

Exhibit A, "respond[] to sections 1277 and 5714 of the National Defense Authorization Act for

Fiscal Year 2020 (P.L. 116-92) ('FY 20 NDAA')" and describe the legal requirements of those

sections of the FY 20 NDAA. As the DNI stated:

         Section 1277 provides for an unclassified report from the Director of National
         Intelligence, which may include a classified annex, consisting of a "determination
         and presentation of evidence with respect to the advance knowledge and role of any
         current or former official of the Government of Saudi Arabia or any current or
         former senior Saudi political figure over the directing, ordering, or tampering of
         evidence in the killing of Washington Post columnist Jamal Khashoggi." Section
         1277 further provides that the report include "a list of foreign persons that the
         Director of National Intelligence has high confidence ... were responsible for, or

1
 Specifically these letters were sent to: the Speaker of the House, Senate Majority Leader, House and Senate Minority
Leaders, Chairman and Vice Chairmen of the Senate Select Colllllittee on Intelligence, Chairman and Ranking
Member of the House Permanent Select Committee on Intelligence, Chairman and Ranking Member of the Senate
Foreign Relations Committee, and the Chairman and Ranking Member of the House Foreign Affairs Colllllittee.

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        complicit in, ordering, controlling, or otherwise directing an act or acts contributing
        to or causing the death of Jamal Khashoggi; ... knowingly and materially assisted,
        sponsored, or provided financial, material, or technological support for, or goods
        or services in support of, [ such activities described above]; ... or impeded the
        impartial investigation of the killing of Jamal Khashoggi, including through the
        tampering of evidence relating to the investigation."

        Section 5714 of the FY20 NDAA provides for an unclassified report from the
        Director of National Intelligence on the death of Jamal Khashoggi, consistent with
        protecting sources and methods, including "identification of those who carried out,
        participated in, ordered, or were otherwise complicit in or responsible for the death
        of Jamal Khashoggi."


        The DNI concluded, "[c]onsistent with the protection of sources and methods, the Office

of the Director ofN ational Intelligence cannot provide additional information pursuant to sections

1277 and 5714 of the FY20 NDAA at the unclassified level. Nonetheless, we are transmitting

under separate cover a classified annex that supplements this letter with additional information."

        18.      ODNI is unable to provide Plaintiff with additional detail concerning the February

7, 2020 two-page National Intelligence Council Memorandum beyond the detail in the 26 pages

already provided. Doing so would reveal classified and statutorily protected information that is

itself exempt from disclosure under FOIA Exemptions 1 and 3; namely, classified intelligence

information, as well as the intelligence priorities and capabilities and sensitive details about

methods and activities, or lack thereof, in this area of inquiry. As the DNI confirmed in his July

21, 2020 letter to the Chairman and Vice Chairman of the Senate Select Committee on Intelligence2

and which is attached as Exhibit B, the information withheld in full has been through a thorough

declassification review on two separate occasions and both reviews "confirmed yet again that

disclosure of additional details surrounding Mr. Khashoggi's murder would undermine U.S.

intelligence sources and methods .... " This letter was provided to Plaintiff on 8 October 2020.


2
 Copies of this letter were also sent to Senator Ron Wyden, and the Chairman of the House Permanent Select
Committee on Intelligence, Congressman Adam Schiff.

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The DNI stated that the sole remaining document's current classification "is the lowest possible

classification that can be given to this intelligence without significantly threatening the national

security interests of the U.S."

        A. Exemption 1

        19.     Exemption 1 provides that FOIA does not require the production of records that

are: "(A) specifically authorized under criteria established by an Executive order to be kept secret

in the interest of national defense or foreign policy and (B) are in fact properly classified pursuant

to such Executive order." 5 U.S.C. § 552(b)(l). For the reasons stated below, I have determined

that the information withheld is currently and properly classified.

       20.      Section 1.l(a) ofE.O. 13526 provides that information may be originally classified

only if all of the following conditions are met: ( 1) an original classification authority is classifying

the information; (2) the information is owned by, produced by or for, or is under the control of the

U.S. Government; (3) the information falls within one or more of the categories of information

listed in section 1.4 ofE.O. 13526; and (4) the original classification authority determines that the

unauthorized disclosure of the information reasonably could be expected to result in some level of

damage to the national security, and the original classification authority is able to identify or

describe the damage.

       21.     As an original classification authority, I have determined that withheld information

responsive to Plaintiffs request is currently and properly classified. This information is owned by

and is under the control of the U.S. Government. As described below, the information falls within

classification categories § 1.4(c) and § 1.4(d) of E.O. 13526 because it concerns "intelligence

activities (including covert action), [or] intelligence sources or methods" and "foreign relations or




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foreign activities of the United States." Further, its unauthorized disclosure could reasonably be

expected to result in damage to the national security.

       22.     None of the information at issue has been classified in order to conceal violations

of law, inefficiency or administrative error; prevent embarrassment to a person, organization or

agency; restrain competition; or prevent or delay the release of information that does not require

protection in the interests of national security. Further, the responsive information is properly

marked in accordance with§ 1.6 ofE.O. 13526.

       23.     The information withheld pursuant to Exemption 1 describes properly classified

intelligence information. Release of the information provided by ODNI to Congress in response

to sections 1277 and 5714 of the FY 20 NDAA would reveal intelligence activities and intelligence

sources and methods such as collection capacity, or lack thereof, and the existence or non-existence

of relationships with foreign entities. The disclosure of such intelligence activities and information

relating to intelligence sources and methods can permit foreign intelligence services and other

groups to disrupt IC activities and/or exploit perceived weaknesses, thereby compromising

intelligence operations and impairing the national security of the United States.

       24.     Additionally, information withheld pursuant to Exemption 1 describes particular

intelligence interests of the U.S. Government.       Intelligence interests are synonymous with

intelligence sources and methods. Intelligence interests show the strategic direction of the U.S.'

intelligence practice. As the head of the IC, particular topics that are of interest to the DNI would

be revealing of the DNI's and the U.S. Government's intelligence objectives. Such a revelation,

through the disclosure of the withheld information, would reveal details of the IC's collection

efforts, or lack thereof. As a result, the IC's efforts may be thwarted or made more difficult,

reducing its effectiveness, requiring a diversion of resources, and resulting in a loss of valuable



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intelligence. Furthermore, disclosure could reasonably be expected to cause irreparable harm and

impair the DNI and the IC's ability to carry out its core functions by revealing the subjects and

areas of interest, and the depth of the IC's knowledge therein. Moreover, information about the

DNI's or any IC element's interest in a particular area or event may benefit a foreign intelligence

service or terrorist organization by enabling it to redirect its resources to circumvent IC intelligence

activities, and generally enhance its intelligence or counterintelligence activities at the expense of

the U.S. national security. Accordingly, Exemption 1 protects this information from disclosure.

       B. Exemption 3

       25.     FOIA Exemption 3 protects information that is specifically exempted from

disclosure by statute. A statute authorizing withholding under Exemption 3 must (A)(i) require

that the matters be withheld from the public in such a manner as to leave no discretion on the issue,

or (A)(ii) establish particular criteria for withholding or refer to particular types of matters to be

withheld. 5 U.S.C. § 552(b)(3).

       26.     Section 102A(i)(l) of the National Security Act provides that "the [DNI] shall

protect intelligence sources and methods from unauthorized disclosure." 50 U.S.C. § 3024(i)(l).

The sources and methods provision of the National Security Act has long been held to qualify as

a withholding statute in accordance with FOIA Exemption 3. The National Security Act applies

in this case to preclude disclosure of the withheld information as a whole.

       27.     Moreover, the protections authorized by the National Security Act apply to the

same information for which Exemption 1 was asserted to protect intelligence sources and methods;

all information in the withheld record relates to intelligence sources or methods. Although I

understand the ODNI does not need to show that disclosure would be harmful in order to protect

intelligence sources and methods under FOIA Exemption 3 and the National Security Act, I note



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that the release of the information withheld under FOIA Exemptions 1 and 3 is reasonably likely

to significantly impair the ODNI and IC ' s ability to carry out core missions of gathering, analyzing,

and integrating intelligence.

          C. Segregability

          28 .     With regard to ODNI's production of the 26 pages to the Plaintiff, ODNI conducted

a review and released all reasonably segregable, non-exempt information.

          29.      With regard to the remainder of the response to Plaintiffs request, ODNI has

determined that the neither the record nor portions of the record may be released pursuant to the

exemptions identified above. As explained in this declaration, doing so would reveal classified and

statutorily protected information that is itself exempt from disclosure under Exemptions 1 and 3.

Any such release or acknowledgment, in whole or in part, would cause damage to the national

security.

    VI.          CONCLUSION

          I certify under penalty of perjury that the foregoing is true and correct to the best of my

knowledge and belief.


          Executed this   q_   day of November 2020.




                                                G,~
                                                                 0 ~
                                                Director, Information Management Office




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